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                          UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


In re                                                              Chapter 11

BESTWALL LLC,                                                      Case No. 17-317 95 (LTB)
                                          1
                                Debtor.


                   DEBTOR’S FOURTH MOTION FOR AN ORDER
               EXTENDING THE EXCLUSIVE PERIODS TO FILE A PLAN
            OF REORGANIZATION AND SOLICIT ACCEPTANCES THEREOF

                 Bestwall LLC, the debtor and debtor in possession in the above-captioned

chapter 11 case (the “Debtor”), hereby moves the Court, pursuant to section 1121(d) of title 11 of

the United States Code (the “Bankruptcy Code”), for an order (i) extending the period during

which the Debtor has the exclusive right to file a plan of reorganization (the “Exclusive Filing

Period”) by approximately two months, through and including May 2, 2019; and (ii) extending

the period during which the Debtor has the exclusive right to solicit acceptances thereof

(the “Exclusive Solicitation Period” and, together with the Exclusive Filing Period,

the “Exclusive Periods”) through and including July 2, 2019. These represent the final

extensions of the Exclusive Periods permitted by section 1121(d) of the Bankruptcy Code. In

support of this Motion, the Debtor respectfully states as follows:

                                              Preliminary Statement

                 The Debtor continues to make progress in this case. Since the last extension of

the Exclusive Periods, the Debtor and its professionals continued to devote time to engaging with

the official committee of asbestos claimants (the “Committee”) and the legal representative for



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        The last four digits of the taxpayer identification number for the Debtor is 5815. The Debtor’s address is
        100 Peachtree Street, N.W., Atlanta, Georgia 30303.



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future asbestos claimants (the “Future Claimants’ Representative”) on a possible consensual

resolution of this case. Although no resolution has yet been achieved, during the last extension

period, the Debtor continued to work toward a successful conclusion of this case and has made

significant progress resolving key issues in this bankruptcy.

                 To facilitate settlement discussions over the first year of the case, the Debtor, the

Committee and the Future Claimants’ Representative agreed to extensions of certain deadlines in

this case. Among other things, the parties agreed to extend: (i) the time for the Committee and

the Future Claimants’ Representative to contest the Debtor’s motion (filed in a separate

adversary proceeding)2 seeking injunctive and declaratory relief prohibiting and enjoining the

filing or prosecution of asbestos-related claims against affiliates of the Debtor [Adv. Pro. Docket

No. 2] (the “PI Motion”); and (ii) the date by which a motion by the Committee or the Future

Claimants’ Representative seeking dismissal or challenging venue of this case could be filed and

deemed timely.

                 On August 15, 2018, the Committee and the Future Claimants’ Representative

each filed an objection to the PI Motion [Adv. Pro. Docket Nos. 47, 49]. The Committee also

filed a motion seeking to dismiss the Debtor’s chapter 11 case or, alternatively, to transfer the

venue of this case to another district [Docket No. 495] (the “Dismissal Motion”). Thereafter,

the PI Motion and the Dismissal Motion were fully briefed by the parties, including by

the Debtor’s non-debtor affiliate, Georgia-Pacific LLC (“New GP”). To facilitate the efficient

resolution of the PI Motion and the Dismissal Motion, the Debtor, New GP, the Committee and

the Future Claimants’ Representative negotiated and agreed to the admission into evidence of the



2
        See Bestwall LLC v. Those Parties Listed on Appendix A to Complaint and John and Jane Does 1-1000
        (In re Bestwall LLC), Adv. Pro. No. 17-03105, commenced on November 2, 2017 (the “Adversary
        Proceeding”).



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contents of the Debtor’s Submission in Lieu of Live Testimony [Docket No. 651; Av. Pro. Docket

No. 104].

                 Since filing the last motion to extend the Exclusive Periods, the PI Motion and

the Dismissal Motion were adjudicated by the Court. A hearing to consider the relief requested

in the PI Motion and the Dismissal Motion was held on November 9, 2018, and, following

extensive oral argument, these matters were continued to January 24, 2019. At the January 24

hearing, the Court announced its ruling on these motions, granting the Debtor’s PI Motion and

denying the Committee’s Dismissal Motion for the reasons described on the record at

the hearing. At the Court’s request, the Debtor has prepared drafts of proposed orders consistent

with those rulings, which orders are under review currently by the Committee and the Future

Claimants’ Representative. The Debtor anticipates that those orders will be submitted for the

Court’s consideration shortly.

                 In addition to their work to streamline the presentation of evidence at the hearing

on the PI Motion and the Dismissal Motion, the parties continued to engage in regular

discussions and work together cooperatively in other ways to advance this case during the last

extension of the Exclusive Periods. Counsel for the Debtor, the Committee and the Future

Claimants’ Representative have participated in regular conference calls to discuss a variety of

topics important to the conduct of the case, including informal requests for information received

from the Committee and the Future Claimants’ Representative. The Debtor also has engaged in

further settlement discussions with the Committee, the Future Claimants’ Representative and

New GP. Although the parties , to date, have been unable to reach an agreement on the terms of

any settlement, and no additional settlement meetings currently are scheduled, each party has




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indicated its willingness to remain open to continuing a settlement dialogue and to continue

working together to advance this case.

                 Having been unable to reach a consensual resolution of this case to date, and

having received the Court’s rulings on the dismissal and injunction issues, the Debtor is

finalizing a plan of reorganization for filing in the case and preparing to seek an estimation of its

legal liability for asbestos claims pursuant to section 502(c) of the Bankruptcy Code. The Debtor

believes that the filing of a plan and the pursuit of estimation will assist the parties and the Court

in moving forward to a section 524(g) resolution of the case. To that end, the Debtor met with

the Committee and the Future Claimants' Representative on February 25, 2019, in New York,

New York to discuss a variety of matters relating to next steps in the case, including the filing of

a plan (coupled with a renewed request to the Committee and the Future Claimants’

Representative to provide any comments on a draft plan of reorganization previously forwarded

to them), estimation, discovery and other matters. The Debtor expects to file a motion for

estimation of current and future asbestos claims in the coming weeks and to continue working

with the other parties on estimation, discovery and related issues.

                 In sum, despite substantial progress to date, the Debtor needs additional time to

continue its efforts to reorganize utilizing section 524(g) of the Bankruptcy Code. Accordingly,

the Debtor seeks an order extending, by approximately two months, each of the Exclusive

Periods. This will provide an extension of the Exclusive Periods to the maximum extent

permitted by section 1121(d) of the Bankruptcy Code. The case law makes it plain that, in a

complex chapter 11 case such as this one, exclusivity may and should be extended, especially

where, as here, the debtor has made, and is continuing to make, progress toward a successful




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reorganization. Under the circumstances, the Debtor respectfully submits that the Court should

grant the requested extensions of the Exclusive Periods.

                                          Background

                 1.   On November 2, 2017 (the “Petition Date”), the Debtor commenced this

case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

The Debtor is continuing in possession of its properties and is managing its business, as a debtor

in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                 2.   On November 16, 2017, the Court entered an order appointing

the Committee [Docket No. 97], as modified by orders entered on March 29, 2018,

October 31, 2018 and November 20, 2018 [Docket Nos. 335, 348, 666, 690].

On February 23, 2018, the Court entered an order appointing Sander L. Esserman as the Future

Claimants’ Representative [Docket No. 278].

                 3.   On March 26, 2018, the Court entered an order [Docket No. 336]

extending the Exclusive Filing Period to July 6, 2018, and the Exclusive Solicitation Period to

September 7, 2018.

                 4.   On August 1, 2018, the Court entered an order [Docket No. 478]

extending the Exclusive Filing Period to November 6, 2018, and the Exclusive Solicitation

Period to January 7, 2019.

                 5.   On January 7, 2019, the Court entered an order [Docket No. 750]

(the “Third Extension Order”) extending the Exclusive Filing Period to March 6, 2019, and the

Exclusive Solicitation Period to May 6, 2019 (together, the “Current Extension Period”).




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                                            Jurisdiction

                 6.    This Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

for this matter is proper in this district pursuant to 28 U.S.C. § 1409.

           The Debtor Has Worked Diligently to Administer and Advance This Case

                 7.    The Debtor continues to work diligently to carry out its responsibilities

and preserve and maximize the value of its estate for stakeholders. During the Current Extension

Period, the Debtor fulfilled its obligations as a chapter 11 debtor in possession, including its

various reporting obligations and the payment of statutory fees. In addition, the Debtor

addressed the following matters since the last request to extend the Exclusive Periods:

                       a.      On the Petition Date, the Debtor commenced the Adversary
                               Proceeding and filed the PI Motion, seeking, among other things,
                               injunctive and declaratory relief prohibiting and enjoining
                               the filing or prosecution of asbestos-related claims against
                               affiliates of the Debtor. A temporary restraining order was entered
                               on November 8, 2018 [Adv. Pro. Docket No. 18], granting
                               the requested relief on an interim basis. The relief subsequently
                               was extended by a preliminary injunction agreed upon by
                               the Debtor and the Committee (the “Preliminary Injunction”).
                               On November 14, 2018, January 29, 2019, and February 27, 2019,
                               the Court entered the seventh, eighth and ninth agreed orders in
                               the Adversary Proceeding, further extending the Preliminary
                               Injunction through and including January 31, 2019, February 28,
                               2019, and March 31, 2019, respectively [Adv. Pro. Docket
                               Nos. 125, 136, 141. These extensions were agreed upon to provide
                               time for (i) the Court to issue its ruling, (ii) the parties to provide
                               input on a form of order memorializing that ruling and (iii) the
                               Court to enter an appropriate order with respect to the PI Motion.

                       b.      On August 15, 2018, the Committee filed the Dismissal Motion
                               (no dismissal motion was filed by the Future Claimants’
                               Representative). This matter was scheduled to be adjudicated on
                               the same timeline as the PI Motion. After the PI Motion and
                               the Dismissal Motion were fully briefed by the parties, these
                               matters were presented to the Court during the Current Extension
                               Period at a hearing on November 9, 2018. After extensive oral
                               argument, these matters were continued to January 24, 2019.



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                       At that time, the Court announced its rulings, granting the PI
                       Motion and denying the Dismissal Motion. The Court ordered the
                       Debtor to prepare proposed orders consistent with its ruling to be
                       shared with the other parties. The Debtor has prepared these
                       orders, incorporating comments from New GP, and is awaiting
                       comments from the Committee and the Future Claimants’
                       Representative.

                 c.    To promote the progress of this case, counsel for the Debtor,
                       the Committee and the Future Claimants’ Representative engaged
                       in regular discussions, including regular conference calls, to
                       discuss case issues and advance this restructuring. Where
                       appropriate, these communications also have included New GP.
                       Since the Debtor filed the last request to extend the Exclusive
                       Periods, the parties engaged in further discussions regarding a
                       potential global settlement of this chapter 11 case. Those
                       discussions have not proven successful to date, but the Debtor
                       remains committed to seeking a consensual resolution of this case
                       as soon as possible.

                 d.    To assist the Committee and the Future Claimants’ Representative
                       in these discussions, the Debtor continued to produce documents
                       and information to the Committee and the Future Claimants’
                       Representative in response to informal information requests. Since
                       February 1, 2018, the Debtor has produced to the Committee and
                       the Future Claimants’ Representative thousands of documents
                       consisting of historical corporate records, transaction documents,
                       financial statements, certain documents from the Debtor’s
                       litigation files and other documents. The Debtor also has produced
                       to the Committee and the Future Claimants’ Representative nearly
                       5 million documents in a sales records database, and has provided
                       them access to the Debtor’s asbestos claims database. These
                       materials, many of which contain highly confidential and propriety
                       information, have been produced or made available to
                       the Committee and the Future Claimants’ Representative pursuant
                       to the (i) Agreed Protective Order Governing Confidential
                       Information [Docket No. 337], entered by the Court on March 26,
                       2018, and (ii) Agreed Order Establishing Non-Waiver and Other
                       Conditions for Access to and Use of the Debtor’s Electronic Sales
                       Records Database and Underlying Paper Records [Docket
                       No. 436], entered by the Court on July 2, 2018.

                 e.    On August 13, 2018, the Debtor provided a draft plan of
                       reorganization to counsel for the Committee and the Future
                       Claimants’ Representative and invited the parties to provide
                       comments and engage in negotiations regarding plan terms.
                       The draft plan was based on consensual plans negotiated and



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                       confirmed in other asbestos cases (including plans negotiated with
                       the same professionals representing the Committee and Future
                       Claimants’ Representative in this case) and incorporated the
                       comments of New GP. The Debtor believes that the draft plan
                       positions it to promptly implement any resolution that may be
                       achieved in this case. To date, the Debtor has yet to receive formal
                       comments on the plan from the Committee or the Future
                       Claimants’ Representative. Nonetheless, the Debtor has continued
                       to evaluate plan issues and refine the plan in an effort to move this
                       case forward.

                 f.    On August 29, 2018, the Debtor moved for an order establishing,
                       among other things, deadlines by which parties must file proofs of
                       claim with respect to claims against the Debtor other than asbestos
                       personal injury claims [Docket No. 615]. The Court approved
                       the motion at a hearing held on September 20, 2018, subject to
                       the agreement of the Debtor and the Committee to defer notice of
                       the bar dates until after adjudication of the Dismissal Motion (i.e.,
                       bar dates will be set and bar date notices sent only after an order
                       denying the Dismissal Motion is entered). The order approving
                       the non-asbestos claims bar dates was entered on October 30, 2018
                       [Docket No. 661] (the “Bar Date Order”). Since the Court has now
                       adjudicated the Dismissal Motion, the Debtor is preparing to
                       finalize and mail notice of the bar dates to creditors and parties in
                       interest and publish the bar date notice in the designated
                       publications in accordance with the Bar Date Order once an order
                       denying the Dismissal Motion is entered.

                 g.    On December 19, 2018, the Debtor moved for a fourth extension
                       of the period during which it may remove actions pursuant to
                       28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of
                       Bankruptcy Procedure (the “Bankruptcy Rules”) [Docket No. 722].
                       The proposed extension was agreed upon by the Committee and
                       the Future Claimants’ Representative and was approved by the
                       Court by an order entered on January 23, 2019 [Docket No. 760]
                       (the “Removal Extension Order”).

                 h.    Since the parties have been unable to reach a consensual resolution
                       of this case to date, and with the Court’s rulings on the dismissal
                       and injunction motions, the Debtor has been preparing for the next
                       phase of this case, including the filing of a plan of reorganization,
                       an estimation of the Debtor’s legal liability for current and future
                       asbestos claims pursuant to section 502(c) of the Bankruptcy Code
                       and discovery related to the estimation. The Debtor believes that
                       the filing of a plan and the pursuit of estimation will assist the
                       parties and the Court in moving forward to a successful
                       reorganization of the Debtor utilizing section 524(g) of the



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                                  Bankruptcy Code. On February 25, 2019, the Debtor,
                                  the Committee and the Future Claimants’ Representative met in
                                  person in New York, New York to discuss next steps in the case,
                                  including the filing of a plan of reorganization, estimation and
                                  discovery, among other things. In the coming weeks, the Debtor
                                  anticipates filing a motion to commence an estimation process.

                  8.     The Debtor remains committed to emerging from chapter 11 as soon as

practicable. As described above, the Debtor has engaged in regular and ongoing discussions

with its major constituencies regarding issues related to this case and has continued to advance

this case since the last extension of the Exclusive Periods. Because these efforts are ongoing,

the Debtor requires additional time to proceed with its restructuring.

                 Request for Extension of Exclusive Periods and Grounds for Relief

                  9.     Pursuant to section 1121(b) of the Bankruptcy Code, a debtor has

the exclusive right to file a plan of reorganization during the first 120 days after

the commencement of a chapter 11 case. See 11 U.S.C. § 1121(b). If a debtor files a plan during

this exclusive filing period, section 1121(c)(3) of the Bankruptcy Code grants the debtor an

additional 60 days during which the debtor may solicit acceptances of that plan, and no other

party in interest may file a competing plan. See 11 U.S.C. § 1121(c)(3).

                  10.    Pursuant to the Third Extension Order, the Exclusive Filing Period

currently expires on March 6, 2019, and the Exclusive Solicitation Period currently expires on

May 6, 2019.3 By this Motion, the Debtor seeks an approximate two-month extension of

the Exclusive Periods to formulate, file and seek acceptances of a consensual plan of




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        Pursuant to paragraph 24 of the Notice, Case Management and Administrative Procedures approved and
        adopted in this case, because this Motion has been filed before the expiration of the Debtor’s current
        Exclusive Filing Period of March 6, 2018, such period is automatically extended until the Court rules on
        this Motion. See Order Establishing Certain Notice, Case Management and Administrative Procedures
        [Docket No. 65] (the “Case Management Order”), Annex 1, ¶ 24.



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reorganization in this case, which would extend the Exclusive Periods to the maximum extent

permitted by the Bankruptcy Code.

                 11.   Section 1121(d) of the Bankruptcy Code provides that the Court may, “for

cause,” extend these periods “[o]n request of a party in interest . . . and after notice and a hearing,

the court may for cause reduce or increase the 120-day period or the 180-day period referred to

in this section.” 11 U.S.C. § 1121(d). The Exclusive Filing Period may be extended through the

date that is 18 months after the Petition Date, which is May 2, 2019, and the Exclusive

Solicitation Period may be extended through the date that is 20 months after the Petition Date,

which is July 2, 2019 (i.e., the dates requested herein). 11 U.S.C. § 1121(d)(2).

                 12.   Although the Bankruptcy Code does not define “cause” to extend

the Exclusive Periods, a number of courts have construed the term based on an examination of

the legislative history of the Bankruptcy Code. See, e.g., Bunch v. Hoffinger Indus., Inc. (In re

Hoffinger Indus., Inc.), 292 B.R. 639, 643 (B.A.P. 8th Cir. 2003); Cont'l Casualty Co. v. Burns

& Roe Enters., Inc., (In re Burns & Roe Enters., Inc.), No. 00-41610, 2005 WL 6289213, at *3-4

(D.N.J. Nov. 2, 2005); In re Newark Airport/Hotel Ltd. P'ship, 156 B.R. 444, 451 (Bankr. D.N.J.

1993). As discussed below, the legislative history of section 1121(d) and applicable case law

support the Debtor’s requested extension of the Exclusive Periods.

                 13.   In determining whether cause exists to grant an extension of the exclusive

periods during which a debtor may file and solicit acceptances of a chapter 11 plan, courts have

considered a variety of factors, any of which may constitute sufficient grounds for granting an

extension. See In re Lichtin/Wade, L.L.C., 478 B.R. 204, 210 (Bankr. E.D.N.C. 2012) (noting

that the court was not able to locate Fourth Circuit precedent regarding extension of exclusivity,

but then looking to other circuits for the proposition that “whether cause exists is a factual




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determination that must be considered on a case by case basis”); Hoffinger, 292 B.R. at 644

(“It is within the discretion of the bankruptcy court to decide which factors are relevant and give

the appropriate weight to each.”); In re Homestead Partners Ltd., 197 B.R. 706, 720 (Bankr. N.D.

Ga. 1996) (applying only those factors relevant to the case at hand).

                 14.   The factors relevant to the Debtor’s case include: (a) the size and

complexity of the case; (b) the Debtor’s progress in resolving issues facing the estate; and

(c) whether an extension of time will harm the Debtor’s creditors. See, e.g., Lichtin/Wade,

478 B.R. at 210; Hoffinger, 292 B.R. at 644-45; In re Adelphia Commc'ns Corp., 352 B.R. 578,

587 (Bankr. S.D.N.Y. 2006); In re Cent. Jersey Airport Servs., LLC, 282 B.R. 176, 184 (Bankr.

D.N.J. 2002); In re Grand Traverse Dev. Co. Ltd. P'ship., 147 B.R. 418, 420 (Bankr. W.D. Mich.

1992); In re Gen. Bearing Corp., 136 B.R. 361, 367 (Bankr. S.D.N.Y. 1992); In re Gibson &

Cushman Dredging Corp., 101 B.R. 405, 409-10 (E.D.N.Y. 1989). The Debtor submits that,

under all these factors, the Exclusive Periods should be extended.

A.      The Requested Extension of the Exclusive Periods Is Justified
        by the Size and Complexity of the Debtor’s Chapter 11 Case.

                 15.   Both Congress and the courts have recognized that the size or complexity

of a debtor’s case alone may constitute cause for the extension of a debtor’s exclusive periods.

See, e.g., H.R. Rep. No. 95-595, at 231, 232, 406 (1978), reprinted in 1978 U.S.C.C.A.N. 5787,

6191, 6362; In re Texaco Inc., 76 B.R. 322, 326 (Bankr. S.D.N.Y. 1987) (“The large size of

the debtor and the consequent difficulty in formulating a plan of reorganization . . . are important

factors which generally constitute cause for extending the exclusivity periods.”); Burns & Roe

Enters., 2005 WL 6289213, at *3 (quoting Texaco and recognizing that a large, complex case

can constitute cause for extension).




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                 16.   This chapter 11 case is both large and complex. As of the Petition Date,

the Debtor was a defendant in tens of thousands of pending asbestos-related personal injury

lawsuits filed in state courts across the country. The process of reaching an accurate and fair

assessment of the Debtor’s asbestos liability and addressing the various other issues that must be

resolved in formulating a plan of reorganization require extensive time and effort on the part of

the Debtor, the Committee, the Future Claimants’ Representative and their respective

professionals. Given the substantial work that remains to resolve these matters and achieve a

successful reorganization, the Debtor respectfully submits that this case is sufficiently large and

complex to grant a further extension of the Exclusive Periods.

B.      The Debtor’s Progress in This Case
        Warrants an Extension of the Exclusive Periods.

                 17.   An extension of a debtor’s exclusive periods also is justified by progress

in the resolution of issues facing the debtor’s creditors and estate. See, e.g., In re Lionel L.L.C.,

No. 04-17324, 2007 WL 2261539, at *6 (Bankr. S.D.N.Y. Aug. 3, 2007); Cent. Jersey Airport

Servs., 282 B.R. at 184; In re McLean Indus. Inc., 87 B.R. 830, 835 (Bankr. S.D.N.Y. 1987);

Texaco, 76 B.R. at 327. As described in detail above, the Debtor has made substantial progress

in this case, including by (a) obtaining a resolution of the critical issues raised by the PI Motion

and the Dismissal Motion; (b) obtaining other relief from the Court, including the Removal

Extension Order that preserves the Debtor’s ability to remove actions pursuant to 28 U.S.C.

§ 1452 and Bankruptcy Rule 9027; (c) complying with the reporting and other obligations of

a debtor in possession; (d) continuing regular discussions with the Committee and the Future

Claimants’ Representative to promote a prompt resolution of this case; (e) producing documents

and information to the Committee and the Future Claimants’ Representative in support of these

discussions; (f) developing a proposed plan of reorganization and soliciting the input of the



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Committee and the Future Claimants’ Representative; and (g) preparing for next steps in the

case, including the anticipated estimation of current and future asbestos claims under section

502(c) of the Bankruptcy Code, and discussing those steps with the Committee and the Future

Claimants’ Representative. The Debtor’s progress to date on these and the other matters

described above justifies the requested extension of the Exclusive Periods.

C.      The Requested Extension of the Exclusive Periods Will
        Not Harm the Debtor’s Creditors or Other Parties in Interest.

                 18.   The extension of the Exclusive Periods requested herein will not harm

the Debtor’s creditors or other parties in interest. In light of the size and complexity of

the Debtor’s chapter 11 case, there are several critical issues that must be resolved before a plan

of reorganization can be implemented. Notably, the amount of the Debtor’s legal liability for

asbestos claims to be addressed in a plan of reorganization must be determined and, in the

absence of a consensual agreement to date, the Debtor believes that an estimation proceeding

will be needed to assist in that process. Likewise, the process of negotiating other specific plan

terms remains ongoing as the Debtor continues to await input from the Committee and the Future

Claimants’ Representative. Under the circumstances, the relief requested herein will not result in

a delay of the plan process; rather, it will permit the process to move forward in an orderly and

efficient fashion.

                                               Notice

                 19.   Consistent with the Case Management Order, notice of this Motion has

been provided to (a) the Office of the United States Bankruptcy Administrator for the Western

District of North Carolina; (b) counsel to the Committee; (c) counsel to the Future Claimants’

Representative; (d) counsel to New GP; and (e) all other parties as required by the Case




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Management Order. The Debtor submits that, in light of the nature of the relief requested herein,

no other or further notice of this Motion need be provided.

                                         No Prior Request

                 20.    No prior request for the relief sought in this Motion has been made by

the Debtor to this or any other court.

                 WHEREFORE, the Debtor respectfully requests that the Court enter an order,

substantially in the form attached hereto as Exhibit A: (i) extending the Exclusive Filing Period

in this case through and including May 2, 2019, (ii) extending the Exclusive Solicitation Period

in this case through and including July 2, 2019 and (iii) granting such other relief to the Debtor

as the Court may deem proper.




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 Dated: February 28, 2019                    Respectfully submitted,
        Charlotte, North Carolina
                                               /s/ Garland S. Cassada
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                                             David M. Schilli (NC Bar No. 17989)
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                                             ATTORNEYS FOR DEBTOR AND
                                             DEBTOR IN POSSESSION




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                                  EXHIBIT A




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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


In re                                                              Chapter 11

BESTWALL LLC,1                                                     Case No. 17-31795 (LTB)
                                 Debtor.


           FOURTH ORDER EXTENDING THE EXCLUSIVE PERIODS TO FILE
        A PLAN OF REORGANIZATION AND SOLICIT ACCEPTANCES THEREOF

                  This matter coming before the Court on the Debtor’s Fourth Motion for an Order

Extending the Exclusive Periods to File a Plan of Reorganization and Solicit Acceptances

Thereof (the “Motion”),2 filed by Bestwall LLC, the debtor and debtor in possession in

the above-captioned chapter 11 case (the “Debtor”); the Court having reviewed the Motion and

having heard the statements of counsel and evidence adduced with respect to the Motion at a

hearing before the Court (the “Hearing”); the Court having found that (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in this

1
         The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address is
         100 Peachtree Street, N.W., Atlanta, Georgia 30303.
2
         Capitalized terms used but not defined herein shall have the respective meanings given to such terms in
         the Motion.



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district pursuant to 28 U.S.C. § 1409, (iii) this is a core proceeding pursuant to

28 U.S.C. § 157(b); and (iv) cause exists within the meaning of section 1121(d) of the

Bankruptcy Code for the extension of the Exclusive Periods granted herein; and the Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein;

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED.

                 2.      Pursuant to section 1121(d) of the Bankruptcy Code, the Exclusive Filing

Period is hereby extended through and including May 2, 2019.

                 3.      Pursuant to section 1121(d) of the Bankruptcy Code, the Exclusive

Solicitation Period is hereby extended through and including July 2, 2019.

                 4.      This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the interpretation, implementation or enforcement of this Order.


This Order has been signed electronically. The judge's               United States Bankruptcy Court
signature and court's seal appear at the top of the
Order.




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